     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 1 of 33




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
UNIVERSAL INSTRUMENTS CORPORATION,
                               Plaintiff,
                 -vs-                                                DECLARATION
MICRO SYSTEMS ENGINEERING, INC., and                               OF ANDREW C. ROSE
MISSOURI TOOLING & AUTOMATION,
                                                                 Civil Action No.: 3:13-cv-831
                                 Defendants.
                                                                          (GLS/DEP)



       ANDREW C. ROSE, an attorney duly admitted to practice in this state and before this

court, declares as follows:

       1.      I am a member of the Bar of the State of New York, having been admitted to the

Bar in 1985, and have also been a member of the Bar of this Court since 1988.

       2.      I am a member of the firm of Nixon Peabody, LLP where I have been resident in

its Albany, New York office since 1990. Before that, I worked for its predecessor firm, Nixon,

Hargrave, Devans & Doyle, in its Rochester, New York office for six years. I am currently the

managing partner of the firm’s Albany office.

       3.      Nixon Peabody is a national firm with 16 attorneys resident in its Albany office,

and another 100 resident in our other Upstate New York offices (Rochester and Buffalo). Of

these attorneys, 21 (11 partners) are part of the firm’s commercial litigation group; however, our

Upstate New York practice does not focus on intellectual property litigation.

       4.      I have actively practiced law and have been admitted to the Bar of both the United

States District Courts in the Northern and Western Districts of New York for more than 30 years.

As a result of my practice, my involvement in the local bar and in some activities in support of

this district, as well as my role as managing partner in my office, I have had occasion to interact

with and learn about many of the lawyers and firms within this federal district.


                                                                                         4819-5900-8349.3
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 2 of 33




       5.      On March 29, 2017, I appeared in this case as local counsel to defendants Micro

Systems Engineering, Inc. (“MSEI”) and Missouri Tooling & Automation (“MTA”), and I

remain in that role. During my representation of defendants, I reviewed and provided input on

all motion and pretrial submissions to the Court, I consulted with defendants’ lead counsel on

matters of strategy and local practice before and during the trial, and communicated regularly

with plaintiff’s counsel on the many discovery and pretrial issues we confronted in the several

months leading up to the trial. I regularly advised trial counsel for both defendants about local

practice and local rules and customs.

       6.      As a result of my role and experience as described above, I am familiar with the

issues and tasks that were presented by this case, my firm’s work on the case, my firm’s areas of

practice and resources and, more generally, the composition of our Upstate New York litigation

and trial bar conversant in this type of complex litigation.

       7.      As this Court knows, this case has been pending since July 2013. By the time that

I and trial counsel for the two defendants (Sullivan & Cromwell LLP (for MSEI) and Kaplan

Rice LLP (for MTA)), first appeared in this case in March 2017, the case had progressed through

extensive and prolonged fact and expert discovery proceedings, as well as repeated discovery

motion practice and ultimately, this court’s February 24, 2017 summary judgment decision. As

this court also knows, on March 23, 2017 the case was given a trial-ready date of July 31, 2017.

       8.      Shortly after my firm was retained, I reviewed various items on the docket to

ascertain the nature of the claims, the history and status of the 4-year course of this case, and to

assess the tasks required to ready the case for trial, which was then scheduled for four months

away. That review revealed that the case was much more than a garden variety breach of

commercial contract dispute. Instead, the claims remaining in the wake of this court’s summary



                                                  2
                                                                                           4819-5900-8349.3
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 3 of 33




judgment decision required an understanding of substantive copyright, licensing and trade secret

concepts arising in the context of competing interpretations of, and ownership rights in, source

and server station software code used in an automation platform (the “Test Handling System”)

for the manufacture of sophisticated components used in medical devices like heart pacemakers

and defibrillators.

        9.      I was also able to ascertain that during the course of discovery, the parties had

(1) produced over 1 million pages of records; (2) conducted no fewer than 41 depositions of 29

witnesses; and (3) generated several expert reports, which had estimated plaintiff’s potential

damages at as much as tens of millions of dollars.

        10.     Based on my review, I concluded that, despite my prior experience in complex

commercial litigation involving intellectual property issues and the experience of some of my

Nixon Peabody colleagues in such litigation often in other metropolitan offices of the firm

(Boston, Washington, D.C., Los Angeles, San Francisco), we were not able to independently

marshal the necessary resources and expertise to review and digest the cumbersome volume of

information generated prior to our appearance and to prepare and try this high-stakes case in the

relatively short time period available before commencement of the trial.

        11.     My assessment proved to be accurate when, during the course of the four months

before trial and during trial, it was necessary for Sullivan & Cromwell professionals to devote a

total of more than 5,000 hours to handle these difficult and complicated tasks, and thereafter

present the organized and compelling case, through its nationally-recognized lead counsel David

Tulchin, that resulted in a total victory for the defendants at trial.

        12.     There are many fine lawyers, some accomplished trial lawyers, in this district and

in Upstate New York law firms, a fact of which this Court is acutely aware since many of them



                                                    3
                                                                                          4819-5900-8349.3
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 4 of 33




appear before the Court on a regular basis. Over the years, I have interacted with many of these

lawyers and firms and have great respect for them. Nonetheless, given the nature of this case,

and the demands and timing constraints it presented, I expect that it would have been uniquely

challenging for them to handle.

       13.     While I cannot speak to the particular resources such firms might have been able

to mobilize quickly in order to do justice to the defense of this case, I have a sound

understanding that few firms, if any, in this District or the Western District, have the depth of

knowledge in the complex legal and technical issues that this case presented, combined with the

proven trial experience and supporting bench strength required to achieve the exceptional result

obtained through the tireless, nearly all-consuming effort expended by Sullivan & Cromwell and

Kaplan Rice throughout the four or five months of their involvement through the end of trial.

One indication of this is the fact that, to my knowledge, only three or four of the Albany-based

attorneys listed on this district’s approved mediator list have any copyright or intellectual

property litigation experience, and none of their firms have supporting local personnel

comparable to that which the defendants’ out-of-district counsel were able to devote to this case.

       14.     Accordingly, I believe that the net result achieved by defendants’ out-of-district

counsel here was substantially, indeed exceedingly, better than what might have been possible

given the limitations of other firms in this local market.

       15.     As the managing partner of my office for more than 14 years, I have developed

both first-hand and some anecdotal knowledge of the hourly rates currently charged by other

firms in this judicial district. Admittedly, because the size and nature of our local firms are as

diverse as the types of matters they handle, it is difficult to derive a generalized “going rate,”

particularly for a case as complicated and important to the clients as this. However, it is fair to



                                                  4
                                                                                           4819-5900-8349.3
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 5 of 33




say that the growing business diversification of our local economic base and the technology

boom and globalization taking place in this region over the last 5-10 years has engendered an

influx of firms (some among the AmLaw 100) and practices whose rates are higher than the

“insurance-defense” rates that historically were a local staple.

       16.     I believe that the rates we charged our clients in this matter, and which the clients

paid promptly and in full, are comparable to or below what some such other firms charge their

clients. And, because our role was to support the deeper and necessary resources dedicated by

our co-counsel, we staffed that role very leanly, utilizing only me and one paralegal throughout

the duration of our representation.

       17.     In the period between March 27, 2017 and the end of August 2017, my hourly

rate for the work done on this matter was $585 and I billed 325.5 hours in this case. Our

paralegal, Kevin Dayer, billed 2.1 hours at an hourly rate of $225. These hourly rates are in-line

with the rates other clients customarily paid for our time during this time period. In total, the

fees we charged between March 2017 and August 2017 were $190,767.00. As stated above,

these fees were promptly paid in full.

       18.     In keeping with this Court’s rulings, where my May 2, 2017 and June 27, 2017

time entries reflect travel time and other billable tasks, I have reduced the number of hours

logged on those dates by 50%. Accordingly, the total for which my firm seeks reimbursement on

this application is $185,707.

       19.     True and correct copies of our invoices for this case are attached hereto as Exhibit

A. These invoices are based on contemporaneous records of the work that was done.




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                                                                                          4819-5900-8349.3
    Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 6 of 33




      I declare under penalty that the foregoing is true and correct.


Dated: February 23, 2018




                                                    /s/ Andrew C.       Rose
                                                    Andrew C. Rose




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                                                                               4819-5900-8349.3
Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 7 of 33




                   EXHIBIT A
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 8 of 33




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                                   _S[^ K$; a` _af[a` fa Ua_bW^* Oad] a` UdWSf[`Y X[^We
                                   Xda_ dW^WhS`f VaU]Wf VaUg_W`fe ahWd UagdeW aX USeW*
                                   <[Sdk gbUa_[`Y VSfWe* JWh[Wi _SfWd[S^e a` UgddW`f
                                   V[eUahWdk V[ebgfW a` fdS`eXWd bd[UWe*
,0+-.+-3   8* JaeW          -*.,   LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)_S[^e fa <* Lg^UZ[` a`
                                   _af[a` fa Ua_bW^ ZWSd[`Y f[_W( fd[S^ VSfW SV\gef_W`f S`V
                                   \gVYW he* _SY[efdSfW eW^WUf[a`* LW^WbZa`W Ua`XWdW`UW i[fZ
                                   S`V W)_S[^e fa b^S[`f[XX%e Uag`eW^ a` eS_W* LW^WbZa`W
                                   Ua`XWdW`UWe &.' i[fZ BgVYW HWWT^We U^Wd] a` _af[a` fa
                                   Ua_bW^ SbbWSdS`UW f[_W* JWh[Wi L* OZ[fW%e ^WffWd fa
                                   b^S[`f[XX%e Uag`eW^ a` VS_SYW V[eUahWdk V[ebgfW*
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,0+-/+-3   8* JaeW          .*4,   JWh[Wi ^WffWd a` b^S[`f[XX%e dWh[eWV aXXWd a` VS_SYW
                                   V[eUahWdk V[ebgfW* LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)_S[^e
                                   fa S`V Xda_ b^S[`f[XX%e Uag`eW^ a` dWcgWef Xad SV\gefWV fd[S^
                                   VSfW* LW^WbZa`W Ua`XWdW`UW i[fZ BgVYW KZSdbW%e U^Wd] a`
                                   eS_W* LW^WbZa`W Ua`XWdW`UWe &.' i[fZ fWS_ a` efdSfWYk a`
                                   dWcgWef Xad SV\gefWV fd[S^ VSfW* JWh[Wi Jg^W 3*- S`V fd[S^
                                   adVWd Xad bdah[e[a`e a` dWcgWefe Xad fd[S^ VSfW SV\agd`_W`f*
                                   JWh[Wi VdSXf ^WffWd Xda_ <* Lg^UZ[` a` eS_W* FafWe a`
                                   fW^WbZa`W Ua`XWdW`UW i[fZ U^Wd] a` Ua`fW`f aX dWh[eWV
                                   ^WffWd* JWh[Wi ^WffWd Xda_ b^S[`f[XXe a` aT\WUf[a` fa UZS`YW
                                   [` fd[S^ VSfW* ;a`e[VWd ^aY[U aX b^S[`f[XX%e aXXWd a`
                                   SV_[ee[a`e dWYSdV[`Y VS_SYW X[YgdWe [` ^[Wg aX _af[a` fa
                                   Ua_bW^*
,0+-0+-3   8* JaeW          -*1,   A`[f[S^ dWh[Wi aX b^S[`f[XX%e _af[a` fa Ua_bW^ bSbWde*
                                   JWh[Wi bdabaeWV _af[a` fa _aV[Xk bdafWUf[hW adVWd S`V W)
                                   _S[^e fa fWS_ a` eS_W* JWh[Wi VdSXf ^WffWd fa Uagdf a`
                                   dWcgWefWV UZS`YW [` fd[S^ VSfW* =)_S[^e fa <* Lg^UZ[` S`V
                                   @* CSb^S` a` eS_W*
,0+-3+-3   8* JaeW          .*4,   JWh[Wi S`V Ua__W`f a` dWh[eWV ^WffWd fa \gVYW a` fd[S^
                                   VSfW* =)_S[^e fa K$; a` eS_W* JWh[Wi W)_S[^e S`V
                                   SffSUZ_W`fe Xda_ ;aabWd+<g]W^ai a` b^S[`f[XX%e Z[efad[US^
                                   bdSUf[UWe S`V X[`S`U[S^ S`V VS_SYW [eegWe* =)_S[^e fa 8*
                                   LZSffW a` KZSdW>[^W [`Xad_Sf[a`* JWh[Wi W)_S[^e a`
                                   _af[a` Xad _aV[X[USf[a` aX bdafWUf[hW adVWd* JWh[Wi
                                   b^S[`f[XX%e _af[a` fa Ua_bW^ V[eU^aegdW aX bd[U[`Y S`V
                                   bdaX[f VaUg_W`fSf[a`* ;a`e[VWd f[_[`Y a` _af[a`e S`V
                                   ^WffWd dWcgWef fa \gVYW*
,0+-4+-3   8* JaeW          /*.,   JWh[Wi b^S[`f[XX%e dWeba`eW ^WffWd a` fd[S^ VSfW* JWh[Wi(
                                   dWh[eW S`V fW^WbZa`W Ua`XWdW`UW i[fZ 8* LZSffW a` ^WffWd fa
                                   b^S[`f[XX a` bdafWUf[hW adVWd S_W`V_W`f* <dSXf SXX[VSh[f fa
                                   SUUa_bS`k _af[a`* =)_S[^e fa K$; a` hSd[age [eegWe* =)
                                   _S[^e fa b^S[`f[XX%e Uag`eW^ a` _WWf S`V Ua`XWd a`
                                   bdafWUf[hW adVWd* LW^WbZa`W Ua`XWdW`UW i[fZ @* CSb^S` a`
                                   EL8 da^W a` _af[a`* ;ZWU] ^aUS^ dg^We S`V fWd_e aX
                                   bdafWUf[hW adVWd Xad bdaUWee [` UZS^^W`Y[`Y VWe[Y`Sf[a`e*
,0+-5+-3   8* JaeW          .*.,   =)_S[^e a` _WWf S`V Ua`XWd* JWh[Wi b^S[`f[XX ^WffWd a`
                                   afZWd [eegWe Xad US^^* ;ZWU] TSU]Ydag`V a` eS_W* JWh[Wi
                                   S`V WV[f _af[a` fa Ua_bW^ bSbWde* =)_S[^ &.' K$; a`
                                   eS_W* =V[f bSbWde bWd <* Lg^UZ[`%e Ua__W`fe* HdWbSdW Xad
                                   _WWf S`V Ua`XWd fW^WbZa`W Ua`XWdW`UW*
,0+.,+-3   8* JaeW          .*.,   HdWbSdW Xad S`V bSdf[U[bSfW [` fW^WbZa`W Ua`XWdW`UW S_a`Y
                                   Uag`eW^ a` Vai` VWe[Y`Sf[a`( SUUWee Tk 9[afda`[] [`)
                                   ZageW ^SikWde( S`V gbVSf[`Y X[`S`U[S^ V[eU^aegdWe S`V
                                   SUUWee fa L@K/ eagdUW UaVW* >a^^ai gb fW^WbZa`W
                                   Ua`XWdW`UW i[fZ <* Lg^UZ[` a` eS_W( fd[S^ VSfW( S`V
                                   Eaf[a` fa ;a_bW^ dWeba`eW* JWh[Wi Eaf[a` fa ;a_bW^
                                   bdabaeWV [`fdaVgUf[a`* ;a`e[VWd S`V dWeba`V fa cgWef[a`
                                   a` Td[WX[`Y adVWd aX SdYg_W`fe* ;ZWU] ;agdf adVWd*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 14 of 33


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,0+.-+-3   8* JaeW               0*4,   KWSdUZ VaU]Wf Xad dWeg^fe aX _WV[Sf[a`( eWff^W_W`f S`V
                                        f[_[`Y aX eS_W* JWh[Wi b^S[`f[XX%e ^WffWd a` 0+.,
                                        Ua`XWdW`UW US^^* JWh[Wi K$; dWeba`e[hW ^WffWd S`V W)_S[^
                                        K$; a` eS_W* JWh[Wi WjbWdf dWbadf i[fZ X[`S`U[S^
                                        egbbadf[`Y VaUg_W`fe Xad Ua`fWjf a` UgddW`f dWcgWef Xad
                                        gbVSfWV X[`S`U[S^e* JWh[Wi S`V WV[f Td[WX [` abbae[f[a` fa
                                        _af[a` fa Ua_bW^* =)_S[^ K$; a` eS_W* JWh[Wi ^WffWd(
                                        VWU^SdSf[a`( bdabaeWV adVWd a` _af[a` abbae[f[a`( S`V
                                        X[^[`Y g`VWd eWS^* JWh[Wi HdafWUf[hW GdVWd S`V ^aUS^ dg^W
                                        a` eS_W* LW^WbZa`W Ua`XWdW`UW i[fZ U^Wd] a` eS_W* =)
                                        _S[^e fa B* D[WTWd_S` a` _WUZS`[Ue aX X[^[`Y g`VWd eWS^(
                                        S`V e[Y`SfgdWe*
,0+..+-3   8* JaeW               ,*1,   >a^^ai)gb a` VaUg_W`fe Xad X[^[`Y [` abbae[f[a` fa _af[a`
                                        fa Ua_bW^*
,0+.0+-3   8* JaeW               .*/,   LW^WbZa`W Ua`XWdW`UWe S`V W)_S[^e i[fZ K$; a` dWh[eWV
                                        S`V X[`S^ bSbWde [` abbae[f[a` fa _af[a` fa Ua_bW^*
                                        LW^WbZa`W Ua`XWdW`UW i[fZ U^Wd] a` X[^[`Y bdaUWee Xad eWS^*
                                        ;aadV[`SfW X[^[`Y S`V eWdh[UW* JWh[Wi abbae[f[a` bSbWde*
                                        =)_S[^e fa BgVYW HWWT^We% U^Wd] a` X[^[`Y aX g`dWVSUfWV
                                        Uab[We* =)_S[^e fa b^S[`f[XX%e Uag`eW^ a` eWdh[UW aX
                                        abbae[f[a` bSbWde*
,0+.1+-3   8* JaeW               -*.,   =)_S[^e fa b^S[`f[XX%e Uag`eW^ a` fZW[d ekefW_%e XS[^gdW fa
                                        dWUW[hW _af[a` abbae[f[a`* 9dWS] gb S`V dW)eW`V bSbWde*
                                        JWh[Wi X[`S^ abbae[f[a` bSbWde*
,0+.2+-3   8* JaeW              ,*1,    JWh[Wi aX WUX X[^[`Y a` fd[S^ VSfW* =)_S[^e fa b^S[`f[XX%e
                                        Uag`eW^ a` _WWf $ Ua`XWd* ;a`e[VWd eS_W* =)_S[^e fa <*
                                        Lg^UZ[` S`V L* OZ[fW a` eS_W* ;ZWU] _SY[efdSfW dWXWddS^
                                        Xad_ S`V bdaUWee*
,0+.3+-3   8* JaeW               ,*1,   =)_S[^e a` bdWfd[S^ _WWf $ Ua`XWd* ;ZWU] bdWfd[S^
                                        egT_[ee[a` VSfWe*
           LGL8D @GMJK6        04*.,
                                                              LGL8D >==K6              #.3(405*1,

                               C9=6;66@6A BD==2AH
            L[_W]WWbWd                 JSfW    @agde                           >WWe
            @JY[VNYZ
            8* JaeW                      14,*,,            03*5,         .3(34.*,,
            @JYJTNPJTZ
            C* <SkWd                     ..1*,,             ,*/,             23*1,
                         CW[JT 2TT CRUNSNNXNYZ1            +/&)'        ").$/+0&,'
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KWUdWfSd[S^ GhWdf[_W                                                                                                 0/*31

                                                  LGL8D ;@8J?=K 8F< <AK9MJK=E=FLK6                                # /0/*31

         C?C2< 7?A =2CC6A %% D>9E6AB2< 9>BCAD=6>CB E =94A?
                                   BHBC6= 6>89>66A9>8$ 9>4&1                                                    ")/$(0*&),



           LafS^ >WWe ************************************************************************************ #    .3(405*1,
           LafS^ ;ZSdYWe S`V <[eTgdeW_W`fe **********************************************                  #       /0/*31
           LafS^ L[_W S`V ;aefe *****************************************************************          #    .4(-5/*.1
                                                                     C?C2< 7?A BC2C6=6>C1                      ")/$(0*&),
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                                                                             -,fZ >^aad
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=jWUgf[hW N[UW HdWe[VW`f( ?W`WdS^ ;ag`eW^                   A`ha[UW Fa* 5441112
9[afda`[]( A`U*                                             8UUag`f6 ,343,3
E[Uda KkefW_ =`Y[`WWd[`Y( A`U*                              LWd_e6 <gW Mba` JWUW[bf
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7?A @A?76BB9?>2< B6AE946B A6>56A65 [QYW\PQ =J` *($ )'(.$ RVLT\MRVP1


=2CC6A >?&1 ''''')                D>9E6AB2< 9>BCAD=6>CB E =94A? BHBC6=
                                  6>89>66A9>8$ 9>4&

7WY @YWONZZRWVJT 7NNZ1
<SfW        L[_W]WWbWd            @agde     <WeUd[bf[a` aX KWdh[UWe

,1+,-+-3    8* JaeW                 .*/,    JWh[Wi b^S[`f[XX%e dWb^k a` _af[a` fa Ua_bW^* JWh[Wi
                                            b^S[`f[XX%e dWb^k fa agd ^WffWd a` Vai` VWe[Y`Sf[a` S`V
                                            egbb^W_W`fS^ bdaVgUf[a`* LW^WbZa`W Ua`XWdW`UW i[fZ S`V
                                            W)_S[^ fa BgVYW HWWT^We U^Wd] a` EL8 SbbWSdS`UW* =)_S[^
                                            fa @* CSb^S` S`V <* Lg^UZ[` a` eS_W S`V ZWSd[`Y
                                            SffW`VS`UW* HdWbSdW Xad _af[a` SbbWSdS`UW*
,1+,.+-3    8* JaeW                 3*1,    LdShW^ fa S`V Xda_ F<FQ KkdSUgeW Xad ZWSd[`Y a`
                                            b^S[`f[XX%e _af[a` fa Ua_bW^* ;a`XWdW`UWe i[fZ L* OZ[fW
                                            S`V <* Lg^UZ[` a` eS_W* Haef)ZWSd[`Y Ua`XWdW`UW i[fZ
                                            BgVYW HWWT^We* ;a`XWdW`UWe i[fZ C* <SkWd S`V W)_S[^ a`
                                            YWff[`Y fdS`eUd[bf*
,1+,.+-3    C* <SkWd                -*,,    JWeWSdUZ dWYSdV[`Y egT_[ee[a` aX dWcgWef Xad fdS`eUd[bf aX
                                            ESk . _af[a` ZWSd[`Y bWd 8* JaeW* LW^WbZa`W Ua`XWdW`UW
                                            i[fZ U^Wd]%e aXX[UW dWYSdV[`Y eS_W* HdWbSdW VdSXf
                                            LdS`eUd[bf GdVWd Xad_ S`V JWcgWef Xad LdS`eUd[bf*
                                            HdWbSdW S`V dWh[eW UWdf[X[USfW aX eWdh[UW aX eS_W*
,1+,/+-3    8* JaeW                 -*4,    EWWf S`V Ua`XWd fW^WUa`XWdW`UW a` bdWfd[S^ egT_[ee[a` S`V
                                            Vai` VWe[Y`Sf[a`* >a^^ai)gb a` _af[a` fdS`eUd[bf S`V
                                            X[^[`Y dWcgWef Xad eS_W* ;a`XWdW`UW i[fZ bSdS^WYS^ a`
                                            eS_W* LW^WbZa`W Ua`XWdW`UWe &.' i[fZ efW`aYdSbZWd a`
                                            f[_[`Y Xad fdS`eUd[bf* LW^WbZa`W Ua`XWdW`UW i[fZ L* OZ[fW
                                            a` eS_W S`V _af[a` SdYg_W`f* JWh[Wi b^S[`f[XX%e ^WffWd a`
                                            _WWf S`V Ua`XWd fab[Ue S`V <* Lg^UZ[` ^WffWd a` Vai`
                                            VWe[Y`Sf[a` S`V SUUWee Tk 9[afda`[] Uag`eW^* =)_S[^ K$;
                                            a` g`VWdfS][`Y Xad 9[afda`[] Uag`eW^* JWh[Wi bdWfd[S^
                                            adVWd a` ef[bg^SfWV XSUfe*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 17 of 33


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<SfW       L[_W]WWbWd      @agde   <WeUd[bf[a` aX KWdh[UWe
,1+,/+-3   C* <SkWd         ,*.,   >[`S^[lW JWcgWef Xad LdS`eUd[bf aX ESk . _af[a` ZWSd[`Y*
                                   =^WUfda`[US^^k X[^W eS_W i[fZ fZW Uagdf h[S fZW ;E)=;>
                                   ekefW_*
,1+,0+-3   8* JaeW          -*0,   LW^WbZa`W Ua`XWdW`UW i[fZ 8* LZSffW a` WjbWdf h[VWafSbW
                                   S`V g`[Xad_ HdWfd[S^ Jg^W a` eS_W* JWh[Wi W)_S[^e a`
                                   Vai` VWe[Y`Sf[a`* JWh[Wi VdSXf ef[bg^SfWV adVWd a` SUUWee
                                   fa 8=G _SfWd[S^e Xad 9[afda`[] ;ag`eW^* =)_S[^ B*
                                   D[WTWd_S` a` eS_W* JWh[Wi VWU[e[a` VW`k[`Y b^S[`f[XX%e
                                   _af[a` fa Ua_bW^* =)_S[^e fa K$; a` eS_W*
,1+,1+-3   8* JaeW          ,*-,   JWh[Wi WUX `af[UWe*
,1+,1+-3   8* JaeW          ,*.,   JWh[Wi W)_S[^ S`V bdWbSdW UZS`YWe fa g`VWdfS][`Y*
,1+-,+-3   8* JaeW          -*-,   =)_S[^e a` fdS`eUd[bf* LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)
                                   _S[^e fa L* OZ[fW a` VW_S`V V[S^aYgW* JWh[Wi `afWe aX
                                   ZWSd[`Y VSk Xad eS_W* JWh[Wi fdS`eUd[bf*
,1+--+-3   8* JaeW          ,*/,   =)_S[^ a` WV[fe fa g`VWdfS][`Y S`V Vai` VWe[Y`Sf[a`*
                                   JWh[Wi Uagdf SbbdahWV g`VWdfS][`Y Xad_*
,1+-.+-3   8* JaeW          ,*4,   LW^WbZa`W Ua`XWdW`UWe &.' i[fZ B* D[WTWd_S` a` ^[`W
                                   h[VWafSbW fWef[_a`k* ;ZWU] dg^We* LW^WbZa`W Ua`XWdW`UWe
                                   &.' i[fZ F<FQ U^Wd] S`V AL bWdea``W^ a` eS_W*
,1+-1+-3   8* JaeW          ,*3,   LW^WbZa`W Ua`XWdW`UWe &.' i[fZ B* D[WTWd_S`* =)_S[^e fa
                                   B* D[WTWd_S` S`V L* OZ[fW a` X[^[`Y ^WffWd a` eWff^W_W`f
                                   efSfge* ;aadV[`SfW X[^[`Y*
,1+-2+-3   8* JaeW          ,*.,   LW^WbZa`W Ua`XWdW`UW i[fZ K$; a` g`VWdfS][`Y S`V
                                   egT_[ee[a` aX eS_W fa Uagdf* ;ZWU] dg^We*
,1+-3+-3   8* JaeW          ,*2,   K[Y` ef[bg^Sf[a` a` VWVWe[Y`Sf[a`* =)_S[^e fa 8* LZSffW a`
                                   eS_W* LW^WbZa`W Ua`XWdW`UWe &.' i[fZ BgVYW HWWT^We%
                                   U^Wd] a` eS_W* ;aadV[`SfW X[^[`Y aX eS_W*
,1+-4+-3   8* JaeW          ,*/,   JWh[Wi adVWd a` VW)VWe[Y`Sf[a`* <[Sdk Xa^^ai)gb a`
                                   VW_S`V S`V fd[S^ bdWbSdSf[a`* ;ZWU] efSfge*
,1+..+-3   8* JaeW          0*.,   LW^WbZa`W Ua`XWdW`UWe i[fZ <* Lg^UZ[`( L* OZ[fW S`V 8*
                                   LZSffW a` eWff^W_W`f bae[f[a`e S`V b^S[`f[XX%e SbbWS^ fa
                                   BgVYW KZSdbW S`V \gdk [`efdgUf[a`e* LW^WbZa`W
                                   Ua`XWdW`UWe i[fZ BgVYW KZSdbW%e U^Wd] a` SbbWS^ f[_[`Y*
                                   =)_S[^ <* Lg^UZ[` S`V L* OZ[fW a` eS_W* JWh[Wi hSd[age
                                   W)_S[^e Xda_ b^S[`f[XX%e Uag`eW^ a` Vai`)VWe[Y`Sf[a` aX
                                   VaUg_W`fe* JWh[Wi UWdfS[` aX fZW VaUg_W`fe* JWh[Wi
                                   b^S[`f[XX%e SXX[VSh[fe( Td[WX S`V WjZ[T[fe a` SbbWS^ aX BgVYW
                                   HWWT^W%e VWU[e[a` a` Eaf[a` fa ;a_bW^* A`hWef[YSfW BgVYW
                                   KZSdbW%e Uabkd[YZf USeWe* JWh[Wi KZSdbW _af[a` eUZWVg^W(
                                   US^Ug^SfW abbae[f[a` f[_W S`V Wjb^adW ShS[^ST[^[fk aX dWb^k*
,1+./+-3   8* JaeW          -*3,   JWh[Wi XgdfZWd UaddWeba`VW`UW a` dW)VWe[Y`Sf[a` S`V
                                   eWff^W_W`f* =)_S[^e fa <* Lg^UZ[` a` WjUZS`YW aX
                                   eWff^W_W`f [`Xad_Sf[a` i[fZ BgVYW HWWT^We* LW^WbZa`W
                                   Ua`XWdW`UWe &.' i[fZ b^S[`f[XX%e Uag`eW^ a` SUUW^WdSf[`Y
                                   SbbWS^ fa BgVYW KZSdbW* =)_S[^ <* Lg^UZ[` a` eS_W*
                                   JWh[Wi WUX adVWde a` eWS^[`Y _SfWd[S^e a` SbbWS^* JWh[Wi
                                   _SfWd[S^e Xad eWff^W_W`f fW^WbZa`W Ua`XWdW`UW i[fZ
                                   _SY[efdSfW* ;ZWU] EL8 eWff^W_W`f bae[f[a`*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 18 of 33


                                                                                  F[ja` HWSTaVk DDH
                                                                            A`ha[UW " 5441112 HSYW /
<SfW        L[_W]WWbWd              @agde    <WeUd[bf[a` aX KWdh[UWe
,1+.0+-3    8* JaeW                  .*-,    LW^WbZa`W Ua`XWdW`UWe i[fZ S`V W)_S[^e fa BgVYW HWWT^We%
                                             U^Wd] a` egT_[ee[a`e bd[ad fa eWff^W_W`f US^^* HdWbSdW Xad
                                             S`V bSdf[U[bSfW [` US^^* LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)
                                             _S[^e fa L* OZ[fW a` agd aXXWd ^WffWd egT_[ee[a`*
                                             LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)_S[^ fa b^S[`f[XX%e
                                             Uag`eW^ a` ;8EH Ua`XWdW`UW* ;ZWU] VaU]Wf a` eS_W*
                                             JWh[Wi Xad b^S[`f[XX%e WjbWdf%e VS_SYW US^Ug^Sf[a`e*
                                             JWh[Wi V[Sdk a` BgVYW KZSdbW%e adVWd a` dWeUZWVg^WV
                                             SbbWS^ ZWSd[`Y*
,1+.2+-3    8* JaeW                   ,*2,   =)_S[^e fa B* D[WTWd_S` a` dWcgWef fa bdWeW`f i[f`Wee h[S
                                             h[VWafSbW* A`[f[S^ UZWU] aX Jg^W S`V ?*G* .1 a` eS_W*
,1+/,+-3    8* JaeW                   /*1,   JWh[Wi ^WffWd _af[a` a` ^[hW h[VWa fWef[_a`k Sf fd[S^ S`V
                                             USeW^Si [` egbbadf aX eS_W* =)_S[^ fa K$; a` dWSUf[a`e fa
                                             eS_W* =)_S[^e [` Xa^^ai)gb* JWh[Wi S`V SeeWee M`[hWdeS^%e
                                             dWeba`eW a` dWcgWef Xad h[VWa fWef[_a`k S`V eWW][`Y Vai`
                                             VWe[Y`Sf[a` aX L@/ eagdUW UaVW* =)_S[^e a` \gdk WjWdU[eW
                                             S`V dWh[Wi ^aY[ef[Ue S`V TSU]Ydag`V a` eS_W* JWh[Wi
                                             MHLKG S`V Ld[S^ GdVWd a` h[VWa fd[S^ fWef[_a`k* <[Sdk
                                             gbUa_[`Y VSfWe* =)_S[^e fa B* D[WTWd_S` a` _af[a` a`
                                             h[VWa fWef[_a`k S`V dWVSUf[a`e*
,1+/-+-3    8* JaeW                   .*0,   A`hWef[YSfW `WWV fa dWVSUf J[U]SdV _SfWd[S^e [` ^WffWd
                                             _af[a`* JWh[Wi ^aUS^ dg^W* LW^WbZa`W Ua`XWdW`UW i[fZ S`V
                                             W)_S[^e fa B* DW[TWd_S` a` _af[a` fa Va h[VWa fd[S^
                                             fWef[_a`k* JWh[Wi( WV[f S`V dWh[eW _af[a` bSbWde* HdWbSdW
                                             eS_W Xad X[^[`Y( S`V eWdh[`Y dWVSUfWV S`V g`dWVSUfWV
                                             hWde[a`e* Oad] i[fZ efSXX fa SVVdWee WUX X[^[`Y bdaT^W_e*

            LGL8D @GMJK6            //*,,
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                                    C9=6;66@6A BD==2AH
              L[_W]WWbWd                    JSfW    @agde                          >WWe
              @JY[VNYZ
              8* JaeW                         141*,,            /-*4,         -4(2,/*,,
              @JYJTNPJTZ
              C* <SkWd                        ..1*,,             -*.,            .3,*,,
                              CW[JT 2TT CRUNSNNXNYZ1            **&''        "(/$/.*&''

                                  7WY 4QJYPNZ JVM 5RZK\YZNUNV[Z1
<WeUd[bf[a`                                                                                    8_ag`f
<Wbae[f[a`e+;agdf JWbadfWde                                                                     -25*31
>[^[`Y+JWUadV[`Y >WWe                                                                           -,,*,,
LdShW^                                                                                          -34*4,

                                        LGL8D ;@8J?=K 8F< <AK9MJK=E=FLK6                     # 004*11
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 19 of 33


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          C?C2< 7?A =2CC6A %% D>9E6AB2< 9>BCAD=6>CB E =94A?
                                    BHBC6= 6>89>66A9>8$ 9>4&1                                                    "(0$*)(&,,



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            LafS^ ;ZSdYWe S`V <[eTgdeW_W`fe **********************************************                  #       004*11
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GgfefS`V[`Y 8_ag`f A`Xad_Sf[a` >ad ESffWde a` fZ[e 9[^^
            M`bS[V TS^S`UW aX afZWd agfefS`V[`Y T[^^e                          #             .4(-5/*.1
            CW[JT 5\N                                                                      "+.$,(+&/'
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LZ[e SUUag`fe dWUW[hST^W Kg__Sdk [`U^gVWe a`^k _SffWde fZSf SbbWSd a` fZ[e T[^^* Af _Sk `af dWX^WUf S^^
_SffWde i[fZ UgddW`f SUUag`fe dWUW[hST^W [`Xad_Sf[a`*
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 20 of 33




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                                                                              ?9Q7 '2.5( 1/4*/333



>*`T\_7 CbTa+LV[`\Wg8U\bgeba\^+Vb`                           Ch_l ./) /-.4
>kXVhg\iX O\VX IeXf\WXag) @XaXeT_ <bhafX_                    Baib\VX Gb+ 6560533
F\Veb LlfgX`f >aZ\aXXe\aZ) BaV+                              9VVbhag7 -454-4
3-/1 CXTa KbTW                                               MXe`f7 =hX Ncba KXVX\cg
ET^X HfjXZb) HK 64-02


7@B AB@76CC9@?2= C6BF946C B6?56B65 \RZX]QR ;]WO *'$ )'(.$ SWMU]NSWQ1


>2DD6B ?@&1 ''''')                E?9F6BC2= 9?CDBE>6?DC F >94B@ CICD6>
                                  6?89?66B9?8$ 9?4&

7XZ AZXPO[[SXWKU 7OO[1

=TgX        M\`X^XXcXe            Abhef     =XfVe\cg\ba bY LXei\VXf

-3,-.,.4    9+ KbfX                 -+4-    MX_Xc[baX VbaYXeXaVX j\g[ L%< TaW A+ DTc_Ta ba `bV^
                                            ge\T_ XkXeV\fX TaW `bg\baf \a _\`\aX+ GbgXf ba fT`X+
-3,-/,.4    9+ KbfX                 .+/-    KXi\Xj iTe\bhf VbeeXfcbaWXaVX ba j\g[WeTjT_ bY TccXT_)
                                            Wbja WXf\ZaTg\ba) eXfcbafX gb i\WXb `bg\ba TaW ba
                                            bccbf\g\ba gb TccXT_ bY `bg\ba gb Vb`cX_ beWXe+ Ba\g\T_
                                            eXi\Xj bY bccbf\g\ba TaW X*`T\_f gb VbhafX_ ba fT`X+
                                            <[XV^ ]hel XkXeV\fX _bVTg\ba+
-3,-2,.4    9+ KbfX                 1+2-    KXi\Xj) XW\g TaW cebi\WX Vb``Xagf ba eXfcbafX Ue\XY ba
                                            c_T\ag\YY&f bU]XVg\baf gb `TZ\fgeTgX eh_\aZf+ >*`T\_ gb L%<
                                            gXT` TaW A+ DTc_Ta ba fT`X+ KXi\Xj c_T\ag\YY&f 043
                                            cebcbfXW fgTgX`Xagf bY YTVg T__XZXW_l abg \a W\fchgX TaW
                                            WeTYg VbhagXe*fgTgX`Xag+ <baf\WXe Kh_X 4+.'T('0( \`cTVg ba
                                            fT`X+ BagXeaT_ VbaYXeXaVXf ba j[Xg[Xe ChWZX L[TecX
                                            jbh_W Tcc_l eh_X+ >*`T\_f '/( gb L%< gXT` ba fT`X TaW
                                            fhZZXfg\baf+ MX_Xc[baX VbaYXeXaVX j\g[ 9+ M[TggX ba
                                            fT`X+ KXi\Xj beWXe TaW X*`T\_ Yeb` ChWZX L[TecX&f V_Xe^
                                            ba i\WXb ge\T_ gXfg\`bal+ <baf\WXe TccebTV[ gb gXV[ab_bZl
                                            eXi\Xj TaW gXfg\aZ Ybe fT`X+ >*`T\_f gb L%< TaW A+
                                            DTc_Ta ba fT`X+
-3,-3,.4    9+ KbfX                 .+4-    >*`T\_f gb =+ Mh_V[\a TaW M+ P[\gX+ MX_Xc[baX
                                            VbaYXeXaVX j\g[ M+ P[\gX ba TeeTaZX`Xagf Ybe i\WXb
                                            gXfg\`bal+ MX_Xc[baX VbaYXeXaVX j\g[ C+ ETj 'V_Xe^( ba
                                            fT`X+ KXi\Xj X*`T\_f Yeb` Na\iXefT_ VbhafX_) bhe
                                            eXfcbafXf) XW\g fT`X) ba ceX*ge\T_ fg\ch_Tg\ba eX_XiTag YTVgf
                                            abg \a W\fchgX+ Pbe^ ba _bVT_ ge\T_ _bZ\fg\Vf+ >*`T\_f gb 9+
                                            ;eXUaXe TaW 9+ M[TggX ba bccbf\g\ba gb Na\iXefT_&f
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 21 of 33


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=TgX        M\`X^XXcXe       Abhef   =XfVe\cg\ba bY LXei\VXf
                                     bU]XVg\baf TaW TccXT_ gb ChWZX L[TecX+ KXi\Xj W\fgTaVXf
                                     TaW Vbheg[bhfXf \a =XaiXe Ybe K\V^TeW i\WXb gXfg\`bal+
-3,-4,.4    9+ KbfX           0+4-   KXi\Xj eXi\fXW WeTYg bY eXfcbafX Ue\XY gb Na\iXefT_&f
                                     TccXT_ bY FTZ\fgeTgX&f WXV\f\ba+ >*`T\_f j\g[ L%< ba
                                     fT`X+ Mjb gX_Xc[baX VbaYXeXaVXf j\g[ A+ L`\g[ 'G=GR)
                                     BM( ba i\WXb TeeTaZX`Xagf+ Mjb X*`T\_f j\g[ M+ P[\gX ba
                                     fT`X+ >*`T\_f) gX_Xc[baX VbaYXeXaVX j\g[ =+ Mh_V[\a) 9+
                                     M[TggX ba eXi\f\baf gb Ue\XY TaW Y\_\aZf,fXei\VX \ffhXf+
                                     KXi\Xj T__ Y\aT_ WbVh`Xagf) eXWTVgXW TaW haeXWTVgXW+
                                     <b`cbfX X*`T\_ gb ChWZX L[TecX&f V_Xe^ ba eXdhXfg gb fXT_+
                                     <[XV^ VTfX V\gTg\baf \a Ue\XY Ybe cbff\U_X Xeebe+
                                     <bbeW\aTgX) c_Ta Ybe ge\T_ gXT` ceXfXaVX Whe\aZ ge\T_+
-3,..,.4    9+ KbfX           -+0-   >*`T\_f gb =+ Mh_V[\a ba 4,.4 VbaYXeXaVX+ <[XV^ WXgT\_f
                                     ba VbaYXeXaVX+
-3,./,.4    9+ KbfX           .+3-   KXi\Xj X*`T\_f ba Vb`cXg\aZ fg\ch_TgXW YTVgf TaW eXi\Xj
                                     _\fgf cebcbfXW+ KXi\Xj Wbja WXf\ZaTg\ba _\fg ba VbWX Ybe
                                     MAL _\aXf+ >*`T\_f gb M+ P[\gX ba i\WXb gXfg\`bal
                                     TeeTaZX`Xagf TaW G=GR cebVXff+ MX_Xc[baX VbaYXeXaVX
                                     j\g[ TaW X*`T\_ gb G=GR BM cXefbaaX_ ba fT`X+ 9ffXff
                                     aXXW Ybe iXaWbe TaW dhXfg\baf gb Tf^ BM fgTYY TaW M+
                                     P[\gX+
-3,.0,.4    9+ KbfX           /+0-   >*`T\_f gb M+ P[\gX Ybe V_Te\Y\VTg\ba ba i\WXb gXfg\`bal
                                     'K\V^Xeg( WXgT\_f+ MX_Xc[baX VbaYXeXaVXf '0( j\g[ TaW X*
                                     `T\_ gb A+ L`\g[ 'G=GR BM( ba i\WXb gXfg\`bal
                                     TeeTaZX`Xagf+ KXfXTeV[ iXaWbef \a =XaiXe TaW f\gX
                                     \aYbe`Tg\ba \a =XaiXe+ >*`T\_ M+ P[\gX gb eXcbeg ba
                                     Y\aW\aZf+ >*`T\_f gb M+ P[\gX TaW 9+ FXb_T ba fg\ch_TgXW
                                     YTVgf+
-3,.1,.4    9+ KbfX           /+0-   KXi\Xj c_T\ag\YY&f _XggXe fXX^\aZ VbaYXeXaVX ba
                                     W\fTZeXX`Xag biXe ceX*ge\T_ fg\ch_TgXW YTVgf+ 9ffXff fb`X
                                     TeZh`Xagf ba ceXi\bhf_l TW`\ggXW YTVgf \a fh``Tel
                                     ]hWZ`Xag cTcXef TaW ChWZX L[TecX&f WXV\f\ba+ 9ffXff
                                     ChWZX&f _\^X_l eXfcbafX TaW aXXW TaW g\`\aZ bY eXfcbafX+
                                     >*`T\_ M+ P[\gX TaW gX_Xc[baX VbaYXeXaVX j\g[ =+
                                     Mh_V[\a ba fT`X+
-3,.2,.4    9+ KbfX           2+/-   KXi\Xj ChWZX L[TecX&f WXV\f\ba ba VbaYXeXaVX eXdhXfg ba
                                     fg\ch_TgXW YTVgf+ >*`T\_ L%< ba fT`X+ KXi\Xj TaW
                                     Vbaf\WXe aXhgeT_ fgTgX`Xag) ]hel V[TeZX TaW iXeW\Vg Ybe`
                                     Ybe ]hel XkXeV\fX+ <[XV^ VThfXf bY TVg\ba+ KXi\Xj g[\eW
                                     T`XaWXW Vb`c_T\ag Ybe TVghT_ WT`TZXf V_T\`XW+ KXi\Xj
                                     fh``Tel ]hWZ`Xag WXV\f\ba ba Y\aW\aZf ba UeXTV[ bY
                                     VbageTVg TaW X_X`Xagf bY Vbcle\Z[g V_T\`+ GbgXf ba fT`X
                                     Ybe cebi\W\aZ Vb``Xagf ba ]hel XkXeV\fX `TgXe\T_f+ ;XZ\a
                                     WeTYg\aZ X*`T\_ j\g[ eXTVg\baf gb dhXfg\baf ba fT`X+ FT^X
                                     fhZZXfgXW XW\gf TaW Vb``Xagf ba ]hel XkXeV\fX `TgXe\T_f+
                                     9ffXff aXXW gb TWWeXff \ffhXf TebhaW `bW\Y\VTg\ba bY
                                     fbheVX VbWX \a ]hel \afgehVg\ba+
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 22 of 33


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-3,.2,.4   9+ KbfX          -+0-   >*`T\_f gb C+ E\XUXe`Ta ba TeeTaZX`Xagf Ybe K\V^Xeg
                                   i\WXb gXfg\`bal+ >*`T\_f gb M+ P[\gX ba fT`X+
-3,.3,.4   9+ KbfX          1+5-   Pbe^ ba K\V^Xegf i\WXb TeeTaZX`Xagf+ MX_Xc[baX
                                   VbaYXeXaVX j\g[ TaW X*`T\_ gb G=GR BM fgTYY ba fT`X+
                                   KXi\Xj X*`T\_f ba XkV[TaZX bY j\gaXff _\fgf TaW ba
                                   `bg\baf \a _\`\aX+ <[XV^ TaW abgX ge\T_ beWXe cebi\f\baf
                                   ba fT`X+ <bag\ahX gb eXi\Xj) TffXff) bhg_\aX Vb``Xagf ba
                                   ]hel XkXeV\fX WbVh`Xagf 'aXhgeT_ VTfX WXfVe\cg\ba) ]hel
                                   V[TeZX TaW iXeW\Vg Ybe`( TaW eXYXe gb VTfX WbVh`Xagf)
                                   c_XTW\aZf) XkcXeg `TgXe\T_f) WXV\f\baf gb V[XV^ YTVgf TaW
                                   V_T\`f+ GbgXf ba K\V^Xeg V[TaZXW TiT\_TU\_\gl TaW Yb__bj*
                                   hc j\g[ G=GR ba gXfg ehaf Ybe i\WXb gXfg\`bal+ ?\a\f[ X*
                                   `T\_ gb L%< gXT` j\g[ Vb``Xagf ba ]hel XkXeV\fX
                                   WbVh`Xagf+ KXi\Xj =+ Mh_V[\a&f Vb``Xagf \a eXfcbafX gb
                                   fT`X+
-3,.6,.4   9+ KbfX          .+2-   ?b__bj*hc X*`T\_f gb A+ L`\g[ TaW L%< gXT` ba K\V^Xeg
                                   i\WXb gXfg\`bal+ >*`T\_f ba TaW W\Tel j\gaXff _\fg
                                   XkV[TaZX+ >*`T\_ M+ P[\gX ba i\WXb gXfg\`bal `XXg TaW
                                   VbaYXe+ <[XV^ j\gaXff \WXag\Y\VTg\ba Ybe FL>B TaW
                                   Na\iXefT_) TaW g[X\e gbc\Vf Ybe Xi\WXaVX+
-3,/.,.4   9+ KbfX          -+0-   >*`T\_f gb 9+ FTleba ba Vbhegebb` ceXi\Xj+ <[XV^
                                   eXYXeXaVX gb ebb` gb UX hfXW \a ceXge\T_ `TgXe\T_f+
-3,//,.4   9+ KbfX          -+0-   MX_Xc[baX VbaYXeXaVXf j\g[ G=GR ba ceXi\Xj bY
                                   Vbhegebb`+ >*`T\_ L%< ba fT`X TaW ceXcTeTg\baf Ybe ]hel
                                   XkXeV\fX+
-3,/0,.4   9+ KbfX          -+2-   MX_Xc[baX VbaYXeXaVX j\g[ M+ P[\gX ba `bV^ ge\T_
                                   XkXeV\fX+ <baf\WXe TaW c_Ta Ybe _bZ\fg\Vf Ybe fT`X+
-3,/1,.4   9+ KbfX          .+2-   KXi\Xj eXi\fXW `bV^ ]hel XkXeV\fX `TgXe\T_f) aXhgeT_
                                   fgTgX`Xag) ]hel \afgehVg\baf TaW iXeW\Vg Ybe`+ FT^X abgXf
                                   ba Vb``Xagf ba fT`X+ >*`T\_f gb 9+ M[TggX ba fT`X+ >*
                                   `T\_f ba _bZ\fg\Vf Ybe XkXeV\fX j\g[ M+ P[\gX+ Ba\g\T_
                                   eXi\Xj bY `TgXe\T_f Yeb` ]hel Vbafh_gTag+
-3,/3,.4   9+ KbfX          /+5-   >*`T\_f gb C+ ETj) C+ ATTfX) TaW L%< ba Vbhegebb`
                                   i\Xj\aZ+ <baYXeXaVX j\g[ C+ ETj ba fT`X TaW i\f\g
                                   Vbhegebb` Tg C+ ETj&f eXdhXfg+ KXi\Xj Vb``Xagf ba `bV^
                                   ]hel dhXfg\baaT\eX+ KXi\Xj dhXfg\baaT\eX TaW `bV^ ]hel
                                   TZXaWT+ KXi\Xj eXi\fXW `bV^ ]hel `TgXe\T_f+ >*`T\_f gb
                                   L%< TaW A+ DTc_Ta ba _bZ\fg\Vf+ >*`T\_ ba j\gaXff _\fg
                                   fgTghf+ >*`T\_f gb LT_`baf fgTYY ba ]hel XkXeV\fX aXXWf+
                                   BaiXfg\ZTgX B``Xef\ba EXZT_ Ybe VbbeW\aTg\aZ j\g[ fT`X
                                   TaW X*`T\_f ba fT`X+
-3,/4,.4   9+ KbfX          6+5-   MeTiX_ gb TaW Yeb`) TaW TggXaW `bV^ ge\T_ XkXeV\fX+
                                   <baYXeXaVXf j\g[ L%< gXT` ba fT`X) ChWZX L[TecX&f
                                   TYY\e`TaVX bY ChWZX IXXU_Xf& WXV\f\ba TaW bg[Xe ge\T_
                                   ceXcTeTg\ba \ffhXf+ KXi\Xj X*`T\_f Yeb` L%< TaW
                                   Na\iXefT_ VbhafX_ ba ceXge\T_ fhU`\ff\baf TaW `XXg %
                                   VbaYXe ba fT`X+
-3,/5,.4   9+ KbfX          3+5-   <baf\WXe L%< dhXfg\baf ba ge\T_ TaW >k[\U\g E\fgf+ >*`T\_
                                   eXfcbafXf ba fT`X+ KXi\Xj ge\T_ beWXe TaW Vb`cTeX
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 23 of 33


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                                    fhU`\ff\ba _\fg gb g[bfX \a NIMLH TaW `beX eXVXag_l
                                    \ffhXW ge\T_ beWXef+ E\aX hc eXfbheVXf Ybe Y\_\aZ) fXei\VX ba
                                    4,0 TaW cTeg\T_ [b_\WTl+ FT^X _\fg bY \gX`f gb UX Y\_XW TaW
                                    `TaaXe bY Y\_\aZ Ybe XTV[+ Hhg_\aX dhXfg\baf Ybe L%< ba
                                    fT`X+ <baYXeXaVX VT__ j\g[ C+ E\XUXe`Ta TaW 9+ M[TggX ba
                                    Xk[\U\g _\fgf TaW bg[Xe dhXfg\baf ba fhcc_X`XagT_ ]hel
                                    dhXfg\baaT\eXf TaW BM gXfg\aZ+ KXi\Xj ]hel fX_XVg\ba
                                    `TgXe\T_f TaW ZTg[Xe \aYbe`Tg\ba Yeb` XkcXe\XaVX UTa^ ba
                                    fT`X+ =eTYg X*`T\_ Vb``Xagf ba f\k \gX`f Ybe `XXg %
                                    VbaYXe gb L%<+ ITeg\V\cTgX \a `XXg % VbaYXe ba ceXge\T_
                                    \ffhXf+ >kV[TaZX X*`T\_f cbfg `XXg % VbaYXe ba "]b\ag"
                                    fhU`\ff\ba bU_\ZTg\ba TaW ]hWZX&f beWXe ba fg\ch_TgXW
                                    YTVgf+ >*`T\_ M+ P[\gX ba [XTefTl dhXfg\ba+ 9WW gb X*`T\_
                                    gb L%< ba BM TeeTaZX`Xagf TaW \ffhXf gb TWWeXff Tg 4,.4
                                    ceXge\T_ VbaYXeXaVX+ KXi\Xj Na\iXefT_&f eXi\fXW fg\ch_TgXW
                                    YTVgf abg \a W\fchgX) \ffhXf bY _Tj TaW YTVgf \a W\fchgX+
                                    =eTYg _XggXe gb TVVb`cTal fXT_\aZ eXdhXfg Ybe ge\T_ Ue\XY
                                    TaW `bg\baf \a _\`\aX+ KXfcbaW gb 9+ ;eXUaXe&f X*`T\_ ba
                                    VTfX VTcg\ba+ <[XV^ Ybe _bVT_ eh_X ba fT`X+
-3,/6,.4   9+ KbfX           2+/-   >*`T\_f TaW gX_Xc[baX VbaYXeXaVX j\g[ C+ E\XUXe`Ta ba
                                    ceXge\T_ fhU`\ff\baf TaW dhXfg\baf+ KXi\Xj cTeg\Xf&
                                    XkV[TaZXW j\gaXff TaW Xk[\U\g _\fgf+ >*`T\_f gb M+ P[\gX
                                    ba Vbheg*beWXeXW ib\e W\eX+ @Tg[Xe \aYbe`Tg\ba Ybe
                                    ceXcTeTg\ba bY fT`X+ =eTYg Vbheg*beWXeXW ib\e W\eX ceXge\T_
                                    fhU`\ff\baf Ybe FL>B TaW FM9+ ;e\XY eXi\Xj bY `bV^
                                    ge\T_ i\WXbf+ >*`T\_f ba eXVTc bY fT`X+ >*`T\_f gb A+
                                    DTc_Ta ba Vbheg*beWXeXW ib\e W\eX+ Ba\g\T_ eXi\Xj bY ge\T_
                                    Ue\XYf+
-3,0-,.4   9+ KbfX           2+2-   Pbe^ ba) XW\g) X*`T\_f ba ge\T_ Ue\XYf TaW Vbheg*beWXeXW
                                    ib\e W\eX+ >*`T\_ VbhafX_ ba _bVT_ eh_Xf ba =ThUXeg
                                    `bg\baf+ MX_Xc[baX VbaYXeXaVX j\g[ TaW X*`T\_f gb C+
                                    E\XUXe`Ta ba WbVh`Xagf Ybe Vbheg ba ceX*ge\T_
                                    fhU`\ff\baf+ >*`T\_f gb L%< ba _bZ\fg\Vf Ybe ge\T_ TaW
                                    bYY\VX TVVb``bWTg\baf+ MX_Xc[baX VbaYXeXaVX j\g[ M+
                                    P[\gX ba Vbheg*beWXeXW ib\e W\eX TaW ]b\ag ceX*ge\T_
                                    fg\ch_Tg\ba+ KXi\Xj X*`T\_ XkV[TaZX ba j\gaXffXf)
                                    ceXfXaVX Tg ge\T_ TaW WXcbf\g\ba geTafVe\cgf+ KXi\Xj
                                    hcWTgXW AT`cgba WT`TZXf eXcbeg+ MX_Xc[baX VbaYXeXaVX
                                    j\g[ A+ DTc_Ta TaW F+ <[e\fg\TafXa ba FM9 ceX*ge\T_
                                    fhU`\ff\baf+ KXi\Xj TaW TffXff ge\T_ fhUcbXaTf fXag Ul
                                    c_T\ag\YYf+ KXi\Xj X*`T\_f ba haVbagXfgXW YTVgf+ Ba\g\T_ eX*
                                    eXTW\aZ bY fh``Tel ]hWZ`Xag WXV\f\ba ba M+ P[\gX&f
                                    dhXfg\ba ba \agXeceXgTg\ba bY eh_\aZ g[Tg Na\iXefT_ bjaf
                                    fbheVX VbWX \a Y\aT_ flfgX` 'MALB9(+

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     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 24 of 33


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`TggXef j\g[ VheeXag TVVbhagf eXVX\iTU_X \aYbe`Tg\ba+
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 25 of 33




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=jWUgf[hW N[UW HdWe[VW`f( ?W`WdS^ ;ag`eW^                    A`ha[UW Fa* 55,2443
E[Uda KkefW_e =`Y[`WWd[`Y( A`U*                              8UUag`f6 ,343,3
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                                            bdabaeWV ha[d V[dW cgWef[a`e S`V dWh[eWV i[f`Wee ^[ef*
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                                            fd[S^ X[^[`Ye* =)_S[^ @* 9\Wd] a` fd[S^ ^aY[ef[Ue* =)_S[^
                                            EL8 Uag`eW^ a` bdW)fd[S^ X[^[`Ye* JWh[Wi WV[fe fa EL8
                                            <SgTWdf _af[a`* ;a`e[VWd X[^[`Y eWcgW`UW( f[_[`Y S`V
                                            bdabaeWV W)_S[^ WjUZS`YW a` eS_W* JWh[Wi S`V Ua__W`f
                                            a` VdSXf hWdV[Uf Xad_ S`V W)_S[^ WjUZS`YW a` eS_W*
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                                            Td[WX* <dSXf S`V dWh[eW ^WffWd _af[a` dWcgWef[`Y eWS^ S`V
                                            bdabaeWV adVWd a` eS_W* ES`k W)_S[^e S`V fW^WbZa`W
                                            Ua`XWdW`UWe i[fZ K$; fWS_ S`V [`fWd`S^ SV_[`[efdSf[hW
                                            S`V AL efSXX a` X[^[`Y( eWdh[UW aX W[YZf _af[a`e [` ^[_[`W(
                                            ;agdf GdVWdWV Na[d <[dW( bdabaeWV ha[d V[dW S`V WjZ[T[f
                                            ^[ef* ;a_baeW W)_S[^ Xad egT_[ee[a` aX g`dWVSUfWV
                                            hWde[a`e aX VaUg_W`fe fa TW eWS^WV* JWh[Wi VaUg_W`fe
                                            dWVSUfWV fa UZSdSUfWd[lW dWSea`e Xad eWS^* JWh[Wi dWh[eWV
                                            hWde[a`e aX fd[S^ Td[WX( i[f`Wee ^[efe( egbbadf[`Y VWU^SdSf[a`
                                            S`V bdW)fd[S^ ef[bg^Sf[a`* LW^WbZa`W Ua`XWdW`UWe i[fZ
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 26 of 33


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                                                                      A`ha[UW " 55,2443 HSYW .
<SfW        L[_W]WWbWd       @agde   <WeUd[bf[a` aX KWdh[UWe
                                     EL8 Uag`eW^ &.' a` eWS^[`Y bdaUWVgdW* =)_S[^ L* OZ[fW
                                     a` bSYW ^[_[f S`V UZWU] dg^We a` eS_W* HdWbSdW ZSdV Uabk
                                     dWXWdW`UW VaUg_W`fe &WjbWdf dWbadfe' Xad VW^[hWdk fa \gVYW*
                                     =)_S[^ U^Wd] a` eS_W* JWh[Wi UWdfS[` aX M`[hWdeS^%e bdW)
                                     fd[S^ egT_[ee[a`e* ;aadV[`SfW X[^[`Ye Tk Uagdf adVWdWV
                                     VWSV^[`W*
,3+,1+-3    8* JaeW           1*1,   A`[f[S^ dWh[Wi aX b^S[`f[XX%e fd[S^ Td[WX( bdabaeWV ha[d V[dW(
                                     \gdk UZSdYW S`V _af[a`e [` ^[_[`W* =)_S[^e fa K$; S`V
                                     fW^WbZa`W Ua`XWdW`UW i[fZ B* D[WTWd_S` a` bSYW ^[_[f(
                                     egTef[fgfWV e[Y`SfgdW bSYW S`V Ua_b[^Sf[a` Xad \gVYW*
                                     DWffWd fa BgVYW KZSdbW W`U^ae[`Y EAD dWXWdW`UW
                                     VaUg_W`fe* LW^WbZa`W Ua`XWdW`UW i[fZ L* OZ[fW a`
                                     dWb^[We fa b^S[`f[XX%e EADe S`V iad][`Y i[fZ aT\WUf[a`e fa
                                     bdabaeWV WjZ[T[fe* =)_S[^e a` b^S[`f[XXe eWdhWV VWbae[f[a`
                                     fdS`eUd[bfe* JWh[Wi V[eUe a` eS_W* =)_S[^e fa F<FQ AL
                                     efSXX( K$; fWS_ &/' a` SddS`YW_W`fe Xad J[U]Wdf h[VWa
                                     fWef[_a`k S`V Vdk dg` a` eS_W* ;a`e[VWd _af[a` fa efd[]W
                                     02)bSYW Td[WX* JWeWSdUZ a` bSYW ^[_[fSf[a`e Xad eS_W* =)
                                     _S[^e fa <* Lg^UZ[` a` fd[S^ ^aY[ef[Ue*
,3+,2+-3    8* JaeW           /*1,   EaU] fd[S^ WjWdU[eW dWUSb* JWh[Wi e^[VWe Xad eS_W* =)_S[^e
                                     a` fd[S^ egTbaW`S* =)_S[^e a` S`V Ua`e[VWd baef)V[eUahWdk
                                     VWbae[f[a` aX 9W``Wff* =)_S[^e fa K$; S`V [`fWd`S^ efSXX
                                     a` fd[S^ ^aY[ef[Ue* =)_S[^e a` EL8 bda ZSU h[UW _af[a`*
                                     JWh[Wi bda ZSU h[UW bSbWde* ;a`f[`gW dWh[Wi[`Y b^S[`f[XX%e
                                     bdWfd[S^ egT_[ee[a`e* JWXWd fa Wh[VW`UW a` eS_W*
,3+,3+-3    8* JaeW           /*4,   LW^WbZa`W Ua`XWdW`UWe i[fZ <* Lg^UZ[`( M`[hWdeS^ Uag`eW^
                                     a` VWbae[f[a` X[^[`Ye* ;a`e[VWd SbbdaSUZ a` eS_W* JWh[Wi
                                     S`V dWeba`V fa W)_S[^e a` bda ZSU h[UW _af[a` &EL8'(
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                                     WjZ[T[f ^[efe( S`V _WWf $ Ua`XWd a` eS_W* =)_S[^e fa K$;
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                                     eZai[`Y 8=G _SfWd[S^e fa i[f`WeeWe* JWh[Wi V[eUe a`
                                     VWbae[f[a` fdS`eUd[bfe S`V Vai`^aSV fdS`eUd[bfe( WjZ[T[fe
                                     Xad i[f`WeeWe iZaeW fWef[_a`k fa TW fS]W` Sf fd[S^* =)_S[^e
                                     a` i[fZVdSi[`Y aX WjbWdf dWbadfe Xda_ WjZ[T[f ^[ef*
                                     LW^WbZa`W Ua`XWdW`UW i[fZ 8* LZSffW a` 3+-, X[^[`Ye*
                                     JWh[Wi dW_S[`[`Y M`[hWdeS^ _af[a`e [` ^[_[`W*
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                                     fWef[_a`k [X `WWV fa Ua`VgUf eS_W* FafWe a` eS_W*
                                     JWh[Wi( WV[f S`V Ua__W`f a` X[hW _af[a`e [` ^[_[`W Xda_
                                     b^S[`f[XXe* =)_S[^ 8* 9dWT`Wd a` J[U]Wdf fWef[_a`k* ;ZWU]
                                     Xad =hS`e fdS`eUd[bfe S`V WjZ[T[fe Xda_ S_a`Y -,3 V[eUe
                                     bdah[VWV Tk b^S[`f[XXe* ;ZWU] Xad KgTdSZ_S`kS` fdS`eUd[bf
                                     S`V WjZ[T[fe* HSdf[S^ dWh[Wi aX fdS`eUd[bfe*
,3+-,+-3    8* JaeW           5*1,   LW^WbZa`W Ua`XWdW`UW i[fZ B* DSi( fW^WbZa`W Ua`XWdW`UW
                                     i[fZ @* K_[fZ &F<FQ'( S`V W)_S[^e &.' fa eS_W a` h[VWa
                                     dg` fZdagYZ S`V WjbWUfWV Ua`VgUf aX bdWfd[S^ Ua`XWdW`UW*
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       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 27 of 33


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                                     LW^WbZa`W Ua`XWdW`UW i[fZ K$; DaY[ef[Ue fWS_ a`
                                     SddS`YW_W`fe Xad fd[S^ iWW]e* >a^^ai)gb a` eS_W* JWh[Wi(
                                     WV[f( Ua__W`f a`( S`V W)_S[^e a` Td[WXe S`V [` abbae[f[a`
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                                     LW^WbZa`W Ua`XWdW`UW i[fZ 8* LZSffW a` X[^[`Y VWfS[^e(
                                     UaddWUf[a` aX g`dWVSUfWV Td[WX* =)_S[^e fa 8* LZSffW a`
                                     VdSXfe( X[^[`Y S`V eWdh[UW VWfS[^e* LW^WbZa`W Ua`XWdW`UW
                                     i[fZ S`V W)_S[^e fa B* D[WTWd_S` a` _af[a` fa eWS^* =)
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                                     ^WffWd S`V bdabaeWV adVWd Xad eWS^[`Y _af[a`* =)_S[^e fa 8*
                                     9dWT`Wd a` S`V bdah[VW Xad_e Xad bda ZSU h[UW _af[a`*
                                     HdWbSdW g`dWVSUfWV bSbWde [` abbae[f[a` fa b^S[`f[XX%e
                                     _af[a`e [` ^[_[`W S`V W)_S[^e fa U^Wd] S`V Uag`eW^ Xad
                                     X[^[`Y eS_W* FafWe Xda_ fW^WbZa`W Ua`XWdW`UW i[fZ B* DSi
                                     a` \gdk eW^WUf[a` bdaUWee* A`[f[S^ dWh[Wi aX badf[a`e aX
                                     b^S[`f[XX%e dWb^k fa ea_W aX agd _af[a`e [` ^[_[`W* AVW`f[Xk
                                     fdS`eUd[bfe aX i[f`WeeWe baee[T^k fa TW bdWeW`fWV Sf fd[S^(
                                     dWh[Wi egT\WUf _SffWd S`V WjZ[T[fe a` eS_W* ;a`e[VWd
                                     SbbdaSUZ a` i[f`Wee S^^aUSf[a`* FafWe a` KgTdSZ_S`kS`
                                     fWef[_a`k*
,3+--+-3    8* JaeW           1*4,   =)_S[^ WjUZS`YWe a` WjZ[T[fe* HdWbSdW Xad S`V bSdf[U[bSfW
                                     [` _WWf $ Ua`XWd a` VWbae[f[a` fdS`eUd[bfe fa TW aXXWdWV Sf
                                     fd[S^( WjZ[T[fe( h[VWa fWef dg`( i[f`WeeWe bdaVgUWV Sf fd[S^(
                                     WfU* LW^WbZa`W Ua`XWdW`UW i[fZ L* OZ[fW a` fd[S^
                                     i[f`WeeWe* LW^WbZa`W Ua`XWdW`UWe i[fZ @* CSb^S` a` fd[S^
                                     i[f`WeeWe S`V egTbaW`Se Xad eS_W* =)_S[^ 8* EWa^S a`
                                     eS_W* JWh[Wi b^S[`f[XX%e abbae[f[a` Td[WXe a` _af[a`e [`
                                     ^[_[`W* ;a_bSdW i[f`Wee ^[efe Xad [VW`f[fk aX i[f`WeeWe S`V
                                     fab[Ue aX fWef[_a`k* Oad] a` dWbdaVgU[`Y S`V V[efd[Tgf[`Y
                                     fd[S^ WjZ[T[fe Se bdaVgUWV Tk b^S[`f[XXe* KS_W Xad <N<e
                                     S`V fdS`eUd[bfe aX VWbae[f[a`e fa TW geWV Sf fd[S^*
,3+-.+-3    8* JaeW           -*-,   =)_S[^e fa @* K_[fZ( L* OZ[fW S`V 8* 9dWT`Wd a` fWef[`Y
                                     h[VWa ekefW_ a` 3+-3* LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)
                                     _S[^ fa E* ;Zd[ef[S`eW` a` ^aY[ef[Ue Xad 3+-3 Ua`XWdW`UW*
                                     ;ZWU] UWdfS[` ^aY[ef[Ue Xad fWS_ Sdd[hS^ a` 3+.5*
                                     LW^WbZa`W Ua`XWdW`UW i[fZ <* Lg^UZ[` a` eS_W*
,3+-/+-3    8* JaeW           -*4,   =)_S[^e a` WjUZS`Y[`Y WjZ[T[f aT\WUf[a`e* =)_S[^e fa <*
                                     Lg^UZ[` S`V Ua`XWdW`UWe i[fZ efSXX a` fd[S^ ^aY[ef[Ue*
                                     JWh[Wi W)_S[^ a` dWbdWeW`fSf[a` aX UWdfS[` i[f`WeeWe S`V
                                     dWh[Wi egTbaW`S baiWd* =)_S[^e a` WjZ[T[f ^[efe* =)_S[^
                                     8* EWa^S a` h[VWa VW_a`efdSf[a`* LW^WbZa`W Ua`XWdW`UW
                                     i[fZ B* DSi &BgVYW KZSdbW%e U^Wd]' a` Uagdfdaa_
                                     Ua`X[YgdSf[a` Xad fd[S^*
,3+-0+-3    8* JaeW           .*1,   JWh[Wi bSdf[We% WjZ[T[f ^[efe( aT\WUf[a`e fa eS_W S`V Uag`f
                                     WjZ[T[fe i[fZ `a aT\WUf[a`e* ;aadV[`SfW S`V dWh[Wi 8*
                                     9dWT`Wd%e bda ZSU _af[a` X[^[`Y* Oad] a` fd[S^ ^aY[ef[Ue*
                                     HdWbSdW Xad Ua`XWdW`UW*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 28 of 33


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,3+-3+-3   8* JaeW          1*/,   EWWf[`Ye i[fZ K$; S`V @* CSb^S` S`V E* ;Zd[ef[S`eW`
                                   TWXadW S`V SXfWd bdW)fd[S^ Ua`XWdW`UW* ;a_b[^W _SfWd[S^e
                                   Xad fWS_ a` eS_W* 8ffW`V bdW)fd[S^ Ua`XWdW`UW* EWWf[`Y
                                   i[fZ Uag`eW^( Uagdf AL efSXX S`V U^Wd] a` h[VWa
                                   SddS`YW_W`fe Xad J[U]Wdf fWef[_a`k* LW^WbZa`W Ua`XWdW`UW
                                   i[fZ Uagdf dWbadfWd a` fdS`eUd[bf dWcgWef* HdWbSdW fdS`eUd[bf
                                   dWcgWef Xad_e S`V X[^W eS_W* =)_S[^e fa Uag`eW^ a` i[f`Wee
                                   ShS[^ST[^[fk S`V eWcgW`U[`Y*
,3+-4+-3   8* JaeW          -*1,   JWh[Wi VaU]Wf W`fd[We( bda ZSU h[UW YdS`f( eg__Sdk aX
                                   bdW)fd[S^ bdaUWWV[`Ye S`V fdS`eUd[bf dWcgWefe* =)_S[^e a`
                                   fd[S^ i[f`WeeWe* ;a`XWdW`UW US^^ i[fZ S^^ Uag`eW^ a` eS_W*
                                   JWh[Wi egbb^W_W`fS^ WjZ[T[fe S`V `afWe a` adVWd aX
                                   i[f`WeeWe*
,3+-5+-3   8* JaeW          .*.,   =)_S[^e a` WjZ[T[f aT\WUf[a`e( VWbae[f[a` VWe[Y`Sf[a`e(
                                   `Wi i[f`Wee ^[ef S`V `Wi WjZ[T[fe* Oad] a` aTfS[`[`Y
                                   ZWSd[`Y fdS`eUd[bf* =)_S[^e fa efW`aYdSbZWd a` eS_W* =)
                                   _S[^e a` adVWd aX bdaaX* =)_S[^e a` US^^[`Y 9^SU]Wd
                                   &WjbWdf' a` b^S[`f[XX%e USeW* =)_S[^e fa 8* 9dWT`Wd a`
                                   cgWef[a`e a` Uagdfdaa_ ^aY[ef[Ue S`V Ua`e[VWd( S`V
                                   [`hWef[YSfW eS_W* JWh[Wi VWe[Y`Sf[a`e* ;a`e[VWd 8=G
                                   _SfWd[S^e Sf fd[S^*
,3+.,+-3   8* JaeW          .*0,   =)_S[^e a` VaUg_W`f US_WdS [` Uagdfdaa_* A`hWef[YSfW
                                   eS_W* =)_S[^e a` eg__Sdk aX _WWf $ Ua`XWd* JWh[Wi
                                   WjUZS`YWV fdS`eUd[bf aT\WUf[a`e S`V VWe[Y`Sf[a`e* <[Sdk
                                   `Wi SYdWWV gba` VSfWe* JWeba`V fa cgWef[a`e a` bd[`f[`Y
                                   hW`Vad* JWh[Wi `Wi bda ZSU h[UW _af[a`* LW^WbZa`W
                                   Ua`XWdW`UW i[fZ E* ;Zd[ef[S`eW` a` EL8 egT_[ee[a`e*
                                   ;a`XWdW`UW i[fZ C* <SkWd a` fd[S^ ^aY[ef[Ue S`V iad] a`
                                   eS_W* LW^WbZa`W Ua`XWdW`UW i[fZ B* D[WTWd_S` a` eS_W*
,3+.,+-3   C* <SkWd         ,*.,   EWWf i[fZ 8* JaeW dWYSdV[`Y fd[S^ bdWbSdSf[a`*
                                   ;a__g`[USfW i[fZ Sffad`Wke Sf Kg^^[hS` S`V ;da_iW^^
                                   dWYSdV[`Y Uabk eWdh[UWe hW`Vad*
,3+.-+-3   8* JaeW          -*4,   JWh[Wi egbb^W_W`fS^ WjZ[T[f ^[efe( M`[hWdeS^%e aT\WUf[a`e
                                   fa VWbae[f[a` VWe[Y`Sf[a`e* LW^WbZa`W Ua`XWdW`UW i[fZ 8*
                                   9dWT`Wd S`V fd[S^ fWUZ`a^aYk egbbadf( L* EWa^S* >a^^ai)
                                   gb W)_S[^e a` eS_W* LW^WbZa`W Ua`XWdW`UW i[fZ U^Wd] a`
                                   SUUWee fa Uagdfdaa_ a` 3+.5 fa eWf)gb* LW^WbZa`W
                                   Ua`XWdW`UW i[fZ S`V W)_S[^ fa N* 9SdS`aie][ a` 3+.5 fd[S^
                                   eWf)gb* ;a`hWk F<FQ AL egbbadf Ua`fSUf [`Xad_Sf[a`*
                                   JWh[Wi W)_S[^e a` i[f`Wee adVWd* Oad] a` aXX[UW ^aY[ef[Ue
                                   Xad K$; fWS_*
,3+.0+-3   8* JaeW          .*.,   JWh[Wi EL8 ^WffWd a` `Wi WjZ[T[fe* JWh[Wi M`[hWdeS^
                                   gbVSfWV WjZ[T[f ^[ef* JWh[Wi M`[hWdeS^%e aT\WUf[a`e fa
                                   VWbae[f[a` Uag`fWd)VWe[Y`Sf[a`e* JWh[Wi X^SeZ Vd[hW i[fZ
                                   M`[hWdeS^ WjZ[T[fe S`V ^WffWd a` eS_W* =)_S[^e fa K$; a`
                                   eS_W S`V fd[S^ bdWbSdSf[a` ^aY[ef[Ue* =)_S[^e fa @* 9\Wd]
                                   a` aXX[UW SUUWee* LW^WbZa`W Ua`XWdW`UW i[fZ S`V W)_S[^e
                                   fa E* ;Zd[ef[S`eW` S`V K$; a` fdS`ebadf aX fd[S^ _SfWd[S^e*
                                   =)_S[^e fa 8* LZSffW a` W^WUfda`[U VWh[UWe [` Uagdfdaa_*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 29 of 33


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                                    ;a`e[VWd S`V [`hWef[YSfW eS_W*
,3+.1+-3   8* JaeW           -*0,   JWh[Wi M`[hWdeS^%e Z[YZ^[YZfWV fdS`eUd[bf VWe[Y`Sf[a`e*
                                    JWh[Wi W)_S[^e a` i[f`Wee eWcgW`UW( aT\WUf[a`e fa
                                    WjZ[T[fe S`V fd[S^ VW_a`efdSf[hWe* =)_S[^e fa K$; efSXX a`
                                    ^aY[ef[Ue* =)_S[^e fa E* ;Zd[ef[S`eW` S`V B* DSi a`
                                    W^WUfda`[Ue Vgd[`Y fd[S^*
,3+.1+-3   C* <SkWd          ,*.,   LW^WbZa`W Ua`XWdW`UW i[fZ ;* J[YYe aX Kg^^[hS` S`V
                                    ;da_iW^^ dWYSdV[`Y bdWbSdSf[a` Xad fd[S^*
,3+.2+-3   8* JaeW           -*3,   Oad] a` fd[S^ egbbadf ^aY[ef[Ue S`V dWeba`V fa cgWef[a`e
                                    a` eS_W Xda_ fWS_* =)_S[^ Uagdf U^Wd] a` eS_W* JWh[Wi
                                    hSd[age W)_S[^ S`V fd[S^ VaUg_W`fe WjUZS`YWV S_a`Y
                                    Uag`eW^*
,3+.3+-3   8* JaeW           .*/,   LW^WbZa`W Ua`XWdW`UW i[fZ @* CSb^S` a` ^SfW)bdaVgUWV W)
                                    _S[^ WjZ[T[f( abW`[`Y S`V C* Eadd[e% V[dWUf WjS_[`Sf[a`
                                    [eegW* =)_S[^e fa @* CSb^S`( <* Lg^UZ[` S`V 8* EWa^S a`
                                    eS_W* LW^WbZa`W Ua`XWdW`UW i[fZ 8* EWa^S a` eS_W*
                                    JWh[Wi W)_S[^e a` WjZ[T[f aT\WUf[a`e( i[f`Wee eWcgW`UW(
                                    VW_a`efdSf[hWe S`V aT\WUf[a`e* JWh[Wi efSfge aX
                                    Uagdfdaa_ fWUZ`[US^ UZWU] S`V dW_S[`[`Y WjZ[T[f
                                    aT\WUf[a`e* =)_S[^ fa 8* LZSffW a` fd[S^ fdS`eUd[bfe S`V
                                    Ua`hWk ^aUS^ dg^We a` eS_W* Oad] a` fd[S^ egbbadf S`V
                                    ^aY[ef[Ue*
,3+.4+-3   8* JaeW           /*1,   =)_S[^e fa Uag`eW^ a` i[f`WeeWe( aT\WUf[a`e( WjZ[T[fe( S`V
                                    VW_a`efdSf[hWe* ;a`XWdW`UWe i[fZ K$; efSXX a` fd[S^
                                    bdWbSdSf[a` S`V ^aY[ef[Ue* Oad] a` fd[S^ egbbadf ^aY[ef[Ue
                                    [` aXX[UW* ;a`XWdW`UWe i[fZ ;* J[YYe( 8* O[^^[S_e S`V 8*
                                    KfadWk a` eS_W* =)_S[^e fa <* Lg^UZ[` a` eS_W*
,3+.4+-3   C* <SkWd          ,*.,   EWWf i[fZ 8* JaeW S`V ;* J[YYe dWYSdV[`Y fd[S^ egbbadf*
,3+.5+-3   8* JaeW           1*1,   ;a`XWdW`UWe i[fZ Uag`eW^ a` fd[S^ bdWbSdSf[a`* JWh[Wi
                                    UaddWeba`VW`UW a` WjZ[T[fe( VW_a`efdSf[hWe S`V J[U]Wdf
                                    fWef[_a`k* A`[f[S^ dWh[Wi aX b^S[`f[XX%e abW`[`Y e^[VWe( Ld[S^
                                    ^aY[ef[Ue S`V egbbadf SUf[h[f[We*
,3+/,+-3   8* JaeW           3*.,   HSdf[U[bSfW [` fd[S^ bdWbSdSf[a` _WWf[`Ye S`V dWh[Wi aX
                                    abW`[`Y efSfW_W`fe* EWWf i[fZ \gdk Ua`eg^fS`fe* =)_S[^e fa
                                    Uag`eW^ a` i[f`WeeWe* JWh[Wi S`V Ua__W`f a` abW`[`Y
                                    e^[VWe Xad WSUZ bSdfk* JWh[Wi( WV[f S`V Ua__W`f a` Td[WXe
                                    a` bdaX[fe S`V bd[h[^WYW iS[hWd* HdWbSdW fdS`eUd[bf dWcgWef
                                    Xad_e* ;a`XWdW`UWe i[fZ fd[S^ fWUZ fWS_ a` dWS^ f[_W
                                    fdS`eUd[bfe* ;a`XWdW`UWe i[fZ Uag`eW^ a` aT\WUf[a`e( e^[VWe
                                    S`V WjZ[T[fe* Ld[S^ egbbadf ^aY[ef[Ue* ;a`XWdW`UW i[fZ K$;
                                    S`V fd[S^ UaadV[`Sf[a`* =)_S[^e fa @* CSb^S` a` Td[WX[`Y*
,3+/-+-3   8* JaeW           4*1,   HdW)fd[S^ Ua`XWdW`UW i[fZ Uag`eW^* ;a`XWdW`UWe Vgd[`Y fd[S^
                                    a` i[f`WeeWe S`V ^aY[ef[Ue* 8ffW`VS`UW Sf fd[S^* JWh[Wi
                                    M`[hWdeS^%e dWh[eWV abW`[`Y e^[VWe* LW^WbZa`W Ua`XWdW`UWe
                                    i[fZ S`V W)_S[^e fa efW`aYdSbZWd a` fdS`eUd[bfe* =)_S[^e fa
                                    K$; a` eS_W*
           LGL8D @GMJK6    -,1*4,
                                                             LGL8D >==K6              #2-(233*,,
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 30 of 33


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                                                                                                    A`ha[UW " 55,2443 HSYW 2
                                             D9>6<66A6B CE>>2BI
               L[_W]WWbWd                            JSfW    @agde                                              >WWe
               AKZ\WOZ[
               8* JaeW                                     141*,,                 -,1*.,               2-(10.*,,
               AKZKUOQKU[
               C* <SkWd                            ..1*,,                           ,*2,                 -/1*,,
                                   DX\KU 2UU DSVOTOOYOZ[1                         (',&/'             "-($-..&''




                                          7XZ 4RKZQO[ KWN 5S[L]Z[OVOW\[1
<WeUd[bf[a`                                                                                                               8_ag`f
=jbdWee <W^[hWdk KWdh[UW                                                                                                    .-*3,
GfZWd HdaXWee[a`S^ KWdh[UWe                                                                                                /-1*.1
LdShW^                                                                                                                      ..*41

                                                   LGL8D ;@8J?=K 8F< <AK9MJK=E=FLK6                                      # /15*4,

          D@D2= 7@B >2DD6B %% E?9F6BC2= 9?CDBE>6?DC F >94B@
                                    CICD6> 6?89?66B9?8$ 9?4&1                                                          "-)$'*-&/'



            LafS^ >WWe ************************************************************************************ #           2-(233*,,
            LafS^ ;ZSdYWe S`V <[eTgdeW_W`fe **********************************************                  #              /15*4,
            LafS^ L[_W S`V ;aefe *****************************************************************          #           2.(,/2*4,
                                                                      D@D2= 7@B CD2D6>6?D1                             "-)$'*-&/'

GgfefS`V[`Y 8_ag`f A`Xad_Sf[a` >ad ESffWde a` fZ[e 9[^^
            M`bS[V TS^S`UW aX afZWd agfefS`V[`Y T[^^e                          #             .4(-5/*.1
            DX\KU 5]O                                                                      "0'$)*'&',
FafW6
LZ[e SUUag`fe dWUW[hST^W Kg__Sdk [`U^gVWe a`^k _SffWde fZSf SbbWSd a` fZ[e T[^^* Af _Sk `af dWX^WUf S^^
_SffWde i[fZ UgddW`f SUUag`fe dWUW[hST^W [`Xad_Sf[a`*
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 31 of 33




                                                                              233 9daSViSk
                                                                              -,fZ >^aad
                                                                              8^TS`k( FQ -..,3
                                                                              L=D6 &1-4' 0.3).21,
                                                                              >8P6 &1-4' 0.3).222



=)_S[^6 BaS`*KUZ_[Vf7T[afda`[]*Ua_                           KWbfW_TWd -4( .,-3
=jWUgf[hW N[UW HdWe[VW`f( ?W`WdS^ ;ag`eW^                    A`ha[UW Fa* 55-1-5,
E[Uda KkefW_e =`Y[`WWd[`Y( A`U*                              8UUag`f6 ,343,3
2,.0 BWS` JaSV                                               LWd_e6 <gW Mba` JWUW[bf
DS]W GeiWYa( GJ 53,/1


7?A @A?76BB9?>2< B6AE946B A6>56A65 [QYW\PQ BNX[NUKNY .$ )'(.$ RVLT\MRVP1




=2CC6A >?&1 ''''')                D>9E6AB2< 9>BCAD=6>CB E =94A? BHBC6=
                                  6>89>66A9>8$ 9>4&

7WY @YWONZZRWVJT 7NNZ1

<SfW        L[_W]WWbWd            @agde     <WeUd[bf[a` aX KWdh[UWe

,4+,-+-3    8* JaeW                 4*4,    <WS^[`Ye i[fZ ;agdf efSXX S`V dWbadfWd a` bdaT^W_e i[fZ
                                            fdS`eUd[bf* ;a`XWdW`UWe i[fZ Uag`eW^ a` fWef[_a`k Y[hW`
                                            S`V ba[`fe fa _S]W a` eS_W* ;a`XWdW`UWe a` egbbadf
                                            ^aY[ef[Ue* 8ffW`V fd[S^*
,4+,.+-3    8* JaeW                 5*.,    ;a`XWdW`UWe i[fZ Uagdf dWbadfWde a` fdS`eUd[bfe* =)_S[^ a`
                                            i[f`Wee eWcgW`UW( WjZ[T[f aT\WUf[a`( VWe[Y`Sf[a`e*
                                            ;a`XWdW`UWe i[fZ Uagdf efSXX F<FQ S`V ;a^adSVa a`
                                            J[U]Wdf h[VWa fWef[_a`k* >a^^ai)gb W)_S[^ a` eS_W*
                                            8ffW`V fd[S^ eWee[a`* ;a`XWdW`UWe i[fZ i[f`WeeWe( Uag`eW^
                                            a` eS_W* Ld[S^ egbbadf* ;a`XWdW`UWe i[fZ efSXX( K$; fWS_*
,4+,/+-3    8* JaeW                -,*4,    Ld[S^ bdWbSdSf[a` V[eUgee[a`e( egbbadf( ^aY[ef[Ue TWXadW S`V
                                            Vgd[`Y fd[S^* 8ffW`V fd[S^* ;aadV[`SfW 9* 9^SU]%e
                                            SbbWSdS`UW* =)_S[^ ;a^adSVa Uagdf a` h[VWa [eegWe* Haef)
                                            fd[S^ Ua`XWdW`UWe [` ^[YZf aX \gVYW%e [`V[USf[a`e a` [eegWe
                                            a` bdW)W_bf[a`( VS_SYWe S`V Jg^W 1, _af[a`* JWfgd` fa
                                            aXX[UW SXfWd Zagde Xad fd[S^ fWS_ egbbadf [eegWe*
                                            ;a`XWdW`UWe i[fZ Uagdf dWbadfWd a` fdS`eUd[bfe* ;a`hWk
                                            fdS`eUd[bf fa fWS_* ;a`XWdW`UW a` eWff^W_W`f VW_S`V*
,4+,0+-3    8* JaeW                 5*4,    HdW)fd[S^ Ua`XWdW`UWe i[fZ Ua)Uag`eW^ a` Jg^W 1, _af[a`
                                            S`V WhW`fe aX fd[S^ VSk* JWh[Wi Jg^W 1, _af[a` Td[WX*
                                            8ffW`V fd[S^ eWee[a`e* >a^^ai)gb Ua`XWdW`UWe i[fZ Ua)
                                            Uag`eW^* =)_S[^e fa Uagdf dWbadfWde &.' a` fdS`eUd[bfe*
                                            FafWe fa Xa^^ai)gb a` J[U]Wdf SbbWSdS`UW*
,4+,1+-3    8* JaeW                 /*1,    LW^WbZa`W Ua`XWdW`UWe i[fZ S`V W)_S[^e fa Uagdf dWbadfWde
                                            &.' a` WjbWV[fWV fdS`eUd[bfe* ;a`XWdW`UWe i[fZ fd[S^ fWS_
       Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 32 of 33


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<SfW        L[_W]WWbWd       @agde   <WeUd[bf[a` aX KWdh[UWe
                                     a` eS_W* ;a`XWdW`UWe i[fZ fd[S^ fWS_ a` fd[S^ [eegWe*
                                     ;a`XWdW`UWe S`V W)_S[^e a` J[U]Wdf h[VWa fWef[_a`k*
                                     FafWe fa Xa^^ai)gb i[fZ Uagdf AL efSXX* A`[f[S^ dWh[Wi aX
                                     EL8 Jg^W 1, _af[a`* ;a`XWdW`UWe i[fZ @* CSb^S` a`
                                     Udaee)WjS_[`Sf[a`* JWh[Wi UWdfS[` fdS`eUd[bf eWY_W`fe a`
                                     dW^WhS`f fWef[_a`k*
,4+,2+-3    8* JaeW           .*4,   GdYS`[lW _SfWd[S^e SUUg_g^SfWV S`V dWh[WiWV Vgd[`Y
                                     iWW] aX fd[S^* LW^WbZa`W Ua`XWdW`UWe i[fZ S`V W)_S[^e a`
                                     J[U]Wdf US`UW^^WV fWef[_a`k* JWh[Wi EK=A S`V EL8
                                     X[`S^ Jg^W 1, _af[a`e* JWh[Wi VWXW`VS`fe \a[`f
                                     egbb^W_W`fS^ Jg^W 1, _af[a` a` ^SU] aX bdaaX a` bdW)
                                     Wj[ef[`Y AH*
,4+,3+-3    8* JaeW           4*1,   ;a`XWdW`UWe i[fZ Ua)Uag`eW^ a` fd[S^ bdaYdWee( `Wjf efWbe
                                     S`V [eegWe* JWh[Wi \gdk UZSdYW* ;a`XWdW`UW i[fZ B* D[V`Wd
                                     a` eS_W* JWh[Wi 9^SU]Wd VW_a`efdSf[hWe* Ld[S^ egbbadf
                                     &aXX[UW' SUf[h[f[We* 8ffW`V fd[S^* Haef)fd[S^ Ua`XWdW`UWe i[fZ
                                     Ua)Uag`eW^( a` agfUa_W( baee[T^W SbbWS^ S`V+ad
                                     dWUa`e[VWdSf[a`* ;a`e[VWd Ua^^WUf[a` aX _SfWd[S^e Xad
                                     baee[T^W geW aX SbbWS^* =)_S[^e fa Uagdf dWbadfWde &.' a`
                                     fd[S^ fdS`eUd[bfe* =)_S[^ 8* 9dWT`Wd a` J[U]Wdf fWef[_a`k
                                     US`UW^^Sf[a`* =)_S[^ MK<; ;a^adSVa a` eS_W*
,4+,4+-3    8* JaeW           /*2,   Haef)fd[S^ ^aY[ef[Ue egbbadf aX K$; a` aXX[UW Ua`X[YgdSf[a`
                                     S`V fS]W Vai`* =)_S[^e fa dWbadfWde &.' a` fdS`eUd[bfe Xda_
                                     VSk 2 aX fd[S^ S`V \gVYW%e Jg^W 1, dg^[`Y* <W^[hWd fdS`eUd[bf
                                     bSk_W`f fa UagdfZageW* ;a`XWdW`UWe i[fZ dWbadfWde S`V
                                     bWdea``W^ Sf Uagdf a` fd[S^* =)_S[^ 8* 9dWT`Wd a`
                                     fdS`eUd[bf* =)_S[^e fa fd[S^ fWS_ a` BgVYW%e Jg^W 1, adS^
                                     dg^[`Y* JWh[Wi eg__Sdk VWU[e[a` S`V adVWd a` Jg^W 1,
                                     _af[a`e* =)_S[^ L* OZ[fW a` Uaefe*
,4+,5+-3    8* JaeW           ,*4,   JWh[Wi X[`S^ dWbadf a` Uabkd[YZf USeW Xda_ F<FQ* >[^W
                                     gbVSfW SUf[h[f[We* =)_S[^e fa K$; fWS_ baef)fd[S^*
,4+-,+-3    8* JaeW           -*/,   =)_S[^e fa A* E[edS]( 8* LZSffW S`V Uagdf dWbadfWd a`
                                     fdS`eUd[bfe* JWh[Wi S_W`VWV \gVY_W`f* <[Sdk SbbWS^*
                                     ;a`XWdW`UWe i[fZ bSdS^WYS^ a` eS_W* JWh[Wi fdS`eUd[bf
                                     X[^[`Ye a` bWdea`S^ [VW`f[X[Wd dWVSUf[a` `af[UW S`V ^aUS^
                                     dg^W* =)_S[^ L* OZ[fW a` eS_W*
,4+--+-3    8* JaeW           -*1,   =)_S[^e fa 8* 9dWT`Wd a` 9[^^ aX ;aefe S`V Sffad`Wke XWW
                                     [eegW* JWeWSdUZ a` ^aUS^ bdaUWee( Ua`efdS[`fe S`V Xad_e Xad
                                     T[^^ aX Uaefe*
,4+-1+-3    8* JaeW           /*1,   JWh[Wi( WV[f( S`V Ua__W`f a` _af[a` Xad Sffad`Wke% XWWe*
                                     =)_S[^e fa 8* 9dWT`Wd a` eS_W S`V T[^^ aX Uaefe* JWh[Wi
                                     UWdfS[` SgfZad[f[We a` Sffad`Wke% XWWe S`V eWSdUZ fdS`eUd[bfe
                                     Xad B* KZSdbW%e Ua__W`fe egbbadf[hW aX _af[a`*
,4+-2+-3    8* JaeW           .*5,   ?SfZWd S`V Ua`hWk Uagdf dWbadfWd [`Xad_Sf[a` S`V
                                     [`ha[U[`Y Xad 9[^^ aX ;aefe* >gdfZWd WV[fe S`V Ua__W`fe a`
                                     _af[a` Xad Sffad`Wke% XWWe* =)_S[^e fa 8* 9dWT`Wd S`V <*
                                     Lg^UZ[` a` eS_W* ;ZWU] ^aUS^ dg^We* ;S^Ug^SfW _af[a`
                                     dWfgd` VSfW* =)_S[^ a` SXX[VSh[f dWcg[dW_W`f*
     Case 3:13-cv-00831-GLS-DEP Document 423 Filed 02/23/18 Page 33 of 33


                                                                                                          F[ja` HWSTaVk DDH
                                                                                                    A`ha[UW " 55-1-5, HSYW /
<SfW         L[_W]WWbWd                      @agde       <WeUd[bf[a` aX KWdh[UWe
,4+-4+-3     8* JaeW                          -*.,       JWh[Wi X[^WV S`V X[`S^ _af[a` Xad Sffad`Wke% XWWe( S`V
                                                         Ua_bSdW eS_W fa bd[ad VdSXfe S`V Ua__W`fe* =)_S[^e fa
                                                         abbae[`Y Uag`eW^ a` eS_W* <[Sdk abbae[f[a`*
,4+.4+-3     8* JaeW                           -*1,      JWh[Wi T[^^ aX Uaefe &dWh[eWV'( egbbadf[`Y [`ha[UWe S`V
                                                         UZWU] dg^We( S`V efSfgfW a` eS_W* ;ZWU] `WWV Xad dWfgd`
                                                         VSfW* =)_S[^e fa B* D[WTWd_S` a` X[^[`Y* DaUSfW _[ee[`Y
                                                         fdS`eUd[bf [`ha[UW* ;aadV[`SfW X[^[`Y*
,4+/,+-3     8* JaeW                           ,*1,      JWh[Wi Faf[UW aX 8bbWS^* ;ZWU] .`V ;[dUg[f VSfWe* <[Sdk
                                                         eS_W*
,5+,1+-3     8* JaeW                           -*1,      JWh[Wi =;> `af[X[USf[a`e a` SbbWS^* <[Sdk eS_W* JWh[Wi
                                                         b^S[`f[XX%e Td[WX [` abbae[f[a` fa Sffad`Wke% XWWe _af[a`*
,5+,2+-3     8* JaeW                           ,*/,      JWh[Wi SbbWS^ fdS`eUd[bf `af[X[USf[a` S`V =;> `af[X[USf[a`
                                                         a` Sffad`Wke% XWWe _af[a`* <[Sdk eS_W*
             LGL8D @GMJK6                    3.*,,
                                                                                         LGL8D >==K6                   #0.(-.,*,,

                                             C9=6;66@6A BD==2AH
               L[_W]WWbWd                            JSfW    @agde                                              >WWe
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               8* JaeW                             141*,,                          3.*,,              0.(-.,*,,
                                   CW[JT 2TT CRUNSNNXNYZ1                          .)&''             "+)$()'&''

                                          7WY 4QJYPNZ JVM 5RZK\YZNUNV[Z1
<WeUd[bf[a`                                                                                                               8_ag`f
;a^ad Hd[`fe                                                                                                                  .*,,
;ab[Wd                                                                                                                        /*2,
<Wbae[f[a`e+;agdf JWbadfWde                                                                                                 3..*/,
=jbdWee <W^[hWdk KWdh[UW                                                                                                     -,*5-
EWS^e                                                                                                                     0(433*44
E[eUW^^S`Wage                                                                                                             /(/,-*/0
GfZWd HdaXWee[a`S^ KWdh[UWe                                                                                               2(200*11
                                                   LGL8D ;@8J?=K 8F< <AK9MJK=E=FLK6                                    # -1(12.*14


            LafS^ >WWe ************************************************************************************ #           0.(-.,*,,
            LafS^ ;ZSdYWe S`V <[eTgdeW_W`fe **********************************************                  #           -1(12.*14
            LafS^ L[_W S`V ;aefe *****************************************************************          #           13(24.*14
                                                                      C?C2< 7?A BC2C6=6>C1                             ",.$-/)&,/

GgfefS`V[`Y 8_ag`f A`Xad_Sf[a` >ad ESffWde a` fZ[e 9[^^
            M`bS[V TS^S`UW aX afZWd agfefS`V[`Y T[^^e                          #             2.(,/2*4,
            CW[JT 5\N                                                                     "((0$.(0&*/
FafW6
LZ[e SUUag`fe dWUW[hST^W Kg__Sdk [`U^gVWe a`^k _SffWde fZSf SbbWSd a` fZ[e T[^^* Af _Sk `af dWX^WUf S^^
_SffWde i[fZ UgddW`f SUUag`fe dWUW[hST^W [`Xad_Sf[a`*
